                                Exhibit E




Case 5:21-ap-00012-MJC   Doc 24-6 Filed 02/10/22 Entered 02/10/22 17:52:52   Desc
                              Exhibit E Page 1 of 6
                                                -I-nst-.— #-20-1-90425-7       Page 1 of5




     Prepared By:
     PEIRSONPATTERSQN, LLP
     4400 ALPHA ROAD
     DALLAS, TX 75244-4505
     800-899-9027

     After Recording Please Retu rii To :
     PE1RSONPATTERSON, LLP
     ATTN: RECORDING DEPT.
     4400 ALPHA ROAD
     DALLAS, TX 75244-4505
     800-899-9027




                                             .[Space Above This Line {• or Recording Data]-
                                                                                              LoanNo




     For Value- Received, JPMorgan Chase Bank, National Association, the undersigned holder of a Mortgage
     (herein ''Assignor") does, hereby grant, sell, assign, . transfer and convey unto Bayview Loan Servicing, LLC;
     (herein "Assignee"), whose address is 4425 Ponce de. Leon Blvd., Coral Gables, FL 33146, a certain
     Mortgage dated December 29, 2005 and recorded on January 4, 2006, made and executed by MARIA J
     DISEN AKA MAFiiA JIMENEZ DISEN-COLON, to and in favor of MORTGAGE ELECTRONIC
     REGISTRATION SYSTEMS INC., ("MERS") AS NOMINEE FOR CENTURY 21(R) MORTGAGE
     (S!W),; ITS SUCCESSORS AND ASSIGNS upon the/following. described property situated in MONROE
     County, Commonwealth of Pennsylvania:
     Property Address:T5i 9 TITANIA STREET, TOBYHANNA, PA 18466'

     See exhibit "A" attached hereto and made a part hereof.


     such Mortgage haying been given to' secure payment of Thirty Nine Thousand and O.O/lOOths ($39,000.00),
     which. Mortgage is of record in Book, Volume or Liber No. 2253, at Page 7339 (or as No. 20060.0389), in the
     Officeofthe Recorder of Deeds of MONROE County, Commonwealth of Pennsylvania

     TO .HAVE AND TO HOLD, the same unto Assignee, ;Its successor and. assigns, forever, subject only to the
     terms and conditions of the/above-described Mortgage.




      Pennsylvania Assignment, of Mortgage
     JPMdrgiiti Cimse. Bank N, A:- Project \V50d3                Page i of 3




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                                              Exhibit E Page 2 of 6
                            Inst.   # 201904257—   Page   2 of 5




                                       EXHIBIT A


        ALL THAT CERTAIN PROPERTY SITUATE!) UN THE TOWNSHIP OF
                                                             VV

        PENNSYLVANIA, AND -BEING DESCRIBED AS FOLLOWS: 03/JQ1/68.
        BEING MORE FULLY DESCRIBED IN A DEED DATED 06/23/00 AND
        RECORDED 06/26/00, AMONG THE LAND RECORDS OF THE. COUNTY
                                         ij' JU.


        4906.




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                                             Inst.   #   201904257   -    Page   3 o£ 5




     IN t \Vigr^ES ^ WHEREOF, the. undersigned. Assignor has executed this Assignment of Mortgage on



                                                                   Assignor;
                                                                   JPMorgan Chase Bank, National Association
                     $£/ C0RP^ %
                    §%:                     :jj? s         By:
                                                                             Mi
                    W  %
                                       .Jl                                            Rene Tanner


                                                            Its:                     VICE PRESIDENT

     Certifieate-of Residence:


     1/Ws do hereby certify that the precise address- of the within named mortgagee, assignee; or person entitled to
      interest is 4425 Ponccdc Leon Blvd., Coral Gables, FL 33146.

                                                                   JPMorgan Chase Bank, National Association. as-
                                                                   assignee or agent for assignee


                fgf%,                                      By:
                                                                                                 ®K
                                                                                          Rene Tanner

                                                            Its:                          VICE PRESIDENT




      Pennsylvania Assignment of Mortgage
      JPMorgan Ghnse Bank N. A. Project W'5003               Pngs-2 of3




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                                            Exhibit E Page 4 of 6
                                            -Inst .   #   201904257—>—Page-4—of—5-




                                                      acknowledgment

     State of Louisiana                                              §
                                                                     .§•
     Parish, of Ouachita                                             §'

               On this                        day      of     T*^P VlCVX          $f)\C\ .. before      me appeared
                  Rene Tanner                                               ^         , to me personally known, who,
     being by me. duly sworn (or affirmed) did say that he/she is the                    VlflF PRFS1HFNT              of
     JPMorgan Chase Bank, National Association,, and thai the seal affixed. tp;.said. instrument is- the corporate
     seal of said .entity andthat. the instrument was signed and- sealed on behalf of the said entity by authority pf its
     board of directors and that                    Rene Tanner                                          acknowledged
     the instrument.to be the free. act and deed of'the said entity,..




                                                                                                            u.
                                EVA REESE                      Signature of Officer
                     OUACHITA PARISH, LOUISIANA.                                            l£m$&zse
                          LIFETIME COMMISSION
                            NOTARY ID # 17070
                                                              Printed Name



                                                               Title of Officer


      (Seal)                                                   My Commission Expires:




      Pennsylvania Assignment of Mortgage
      JPMorgan Chase Bank N.A, Projcct \V5003                 Page 3 of 3




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                                            Exhibit E Page 5 of 6
                                    Inst^#~2U190425T^-~Page-5—of~5"




                                    COUNTY OF MONROE
   %                A

                                       RECORDER OF DEEDS
                                       610 MONROE STREET
                                              SUITE 125
                                     STROUDSBURG, PA 18360
                                      Area Code (570)517-3969


          J 838,                      Josephine Ferro - Recorder




 Instrument Number - 201904257                                Book - 2524         Starting Page - 8524
 Recorded On 2/26/2019 At 3:19:38 PM                        * Total Pages - 5
* Instrument Type - ASSIGNMENT OF MORTGAGE
 Invoice Number - 770286
* Grantor - COLON, MARIA JIMENEZ DISEN
* Grantee - BAYVIEW LOAN SERVICING LLC
 User - DMS
* Customer - JPMORGANCHASE - EP4
* FEES
 STATE    WRIT     TAX              $0.50           RETURN DOCUMENT TO:
 JCS /ACCESS       to justice      $40.25           JPMORGANCHASE - EP4
 RECORDING FEES                    $13.00
 COUNTY ARCHIVES           FEE      $2.00
 ROD ARCHIVES        FEE            $3.00
 TAX     CODE   CERTIFICATION      $10.00
 FEES                                                               MC GIS Registry UPI Certification
 TOTAL     PAID                    $68.75                             On February 26, 2019 By JG

                                                   TAX ID#


                                                    lotal Tax IDs: 1




                                                                           I Herebv CERTIFY that this document is recorded in ihe
                                                         7/                Recorder's Office of Monroe County, Pennsylvania
                                                              ft.
                                                     §
                                                     o                 I
                                                     w    Us          w*
                                                                      7*
                                                      \ A
                                                          '%SYL


                                                         THIS IS A CERTIFICATION PAGE



                                                              Do Not Detach
                                                         THIS PAGE IS NOW THE LAST PAGE
                                                               OF THIS LEGAL DOCUMENT




                                                   * - Information denoted by an asterisk may change during
                                                      the verification process and may not be reflected on this page.




Book: 2524 Page: 8528


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